
637 S.E.2d 180 (2006)
STATE of North Carolina
v.
William Earl FULLER.
No. 451A06.
Supreme Court of North Carolina.
October 5, 2006.
Daniel Pollitt, Assistant Appellate Defender, for William Earl Fuller.
Diane Miller, Anne M. Middleton, Assistant Attorney Generals, Robert F. Johnson, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 632 S.E.2d 509.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 23rd day of August 2006 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 5th day of October 2006."
